                IN THE UNITED STATES DISTRICT COURT

           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                           l:20CR 479   -l
                 v

JASON SHUANG XU                                     PLEAAGREEMENT


      NOW COME the United States of America, by and through Matthew

G.T. Martin, United States Attorney for the Middle District of North Carolina,

and the defendant, JASON SHUANG XU,             in his own person and through his

attorney, Christopher A. Beechler, and state as follows:

      1.    The defendant, JASON SHUANG XU, is presently under
Indictment in case number 1:20CR430-2, which charges him with a violation

of Title 21, United States Code, Sections 846 and 841G)(1)(C), conspiracy to

distribute quantities of a mixture and substance containing a detectable

amount of cocaine hydrochloride

      2.    The defendant, JASON SHUANG XU, is also charged                    by

Information in case number 1:20CR479      -1,   which charges him with a violation

of Title 21, United States Code, Section 8430), using a cellular telephone to

facilitate the distribution of cocaine hydrochloride

      3.    The defendant, JASON SHUANG XU, wiII enter a voluntary plea

of guilty to the Information herein. The nature of this charge and the elements




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of this charge, which must be proved by the United States beyond a reasonable

doubt before the defendant can be found guilty thereof, have been explained to

him by his attorney.

            a.    The defendant, JASON SHUANG XU, understands that the

maximum term of imprisonment provided by law for the Information herein is

not more than four years, and the maximum fine for the Information herein is

$250,000, or both.   If any person derived pecuniary gain foom the offense, or if

the offense resulted in pecuniary loss to a person other than the defendant,

JASON SHUANG XU, the defendant may, in the alternative, be fi.ned not more

than the greater of twice the gross gain or twice the gross loss unless the Court

determines that imposition of a fine in this manner would unduly complicate

or prolong the sentencing process. The fine provisions are subject to the

provisions of Title 18, United States Code, Section 3571, entitled Sentence of

Fine.   The defendant, JASON SHUANG XU, also understands that the Court

may include as a part of the sentence a requirement that the defendant be

placed on a term of supervised release of not more than one year after

imprisonment, pursuant to Title 18, United States Code, Section 3583.

            b.    The defendant, JASON SHUANG XU, further understands

that the sentence to be imposed upon him is within the discretion of the
sentencing court subject to the statutory maximum penalties set forth above.

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The sentencing court is not bound by the sentencing range prescribed by the

United States Sentencing Guidelines. Nevertheless, the sentencing court is

required to consult the Guidelines and take them into account when

sentencing. In so doing, the sentencing court will first calculate, after making

the appropriate findings of fact, the sentencing range prescribed by the
Guidelines, and then will consider that range as well as other relevant factors

set forth in the Guidelines and those factors set forth in Title 18, United States

Code, Section 3553(a) before imposing the sentence.

            c.    The defendant, JASON SHUANG XU, understands that              if
he is not a citizen of the United States that entering a plea of guilty may have

adverse consequences   with respect to his immigration status. The defendant,

JASON SHUANG XU, nevertheless wishes to enter a voluntary plea of guilty

regardless of any immigration consequences his guilty plea might entail, even

if such consequence might include automatic removal and possibly permanent

exclusion from the United States. The defendant, JASON SHUANG XU,

further understands that in the event he is a naturalized citizen, entering     a

plea of guilty may result   in denaturalization    proceedings being instituted

against him leading to his removal and possible permanent exclusion from the

United States.



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      4.    By voluntarily pleading guilty to the Information herein, the
defendant, JASON SHUANG XU, knowingly waives and gives                       up   his

constitutional rights to plead not guilty, to compel the United States to prove

his guilt beyond a reasonable doubt, not to be compelled to incriminate himself,

to confront and cross-examine the witnesses against him, to have a jury or
judge determine his guilt on the evidence presented, and other constitutional

rights which attend a defendant on trial in a criminal   case.

      5.    The defendant, JASON SHUANG XU, is going to plead guilty to

the Information herein because he is, in fact, guilty and not because of any

threats or promises.

      6.    The extent of the plea bargaining in this case is as follows:

            a.      Upon the acceptance by the Court of a guilty plea by the

defendant, JASON SHUANG XU, to the Information herein, and                    at the
conclusion of the sentencing hearing thereon, the United States will not oppose

a motion to dismiss the Indictment in case number 1:20CR430-2 as to the

defendant, JASON SHUANG XU. This portion of the Plea Agreement is made

pursuant to Rule 11(cX1)(A) of the Federal Rules of Criminal Procedure.

            b.      It is understood that if the Court determines at the time of
sentencing that the defendant, JASON SHUANG XU, qualifies for a 2-Ievel

decrease   in the   offense level under Section 3E1.1(a)         of the   Sentencing

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Guidelines and that the offlense level prior to the operation of Section 3E1.1(a)

is 16 or greater, then the United States wiII recommend a decrease in the
offense level    by 1 additional level pursuant to Section 3E1.1G) of the
Sentencing Guidelines. This portion of the Plea Agreement is made pursuant

to Rule 11(c)(1)G) of the Federal Rules of Criminal Procedure.

            c.      The defendant, JASON SHUANG XU, hereby abandons

interest in, and consents to the offi.cial use, destruction, or other disposition of

each item seized and/or maintained by any law enforcement agency during the

course of the investigation, unless such item is specifically provided for in

another section of this plea agreement. The defendant, JASON SHUANG XU,

waives any and all notice of any proceeding to implement the official use,

destruction, or other disposition of such items.

            d.      The defendant, JASON SHUANG XU, waives all rights,

whether asserted directly or through a representative, to request or receive

from any department or agency of the United States any record pertaining to

the investigation orprosecution of this case under the authority of the Freedom

of Information Act, 5 U.S.C.   S   552, or the Privacy Act of 1974,5 U.S.C. $ 552a,

and all subsequent amendments thereto.

            e.     Rule 11(f) of the Federal Rules of Criminal Procedure and

RuIe 410 of the Federal Ru1es of Evidence ordinarily      limit the admissibitity of
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statements made by a defendant during the course of plea proceedings. The

defendant, JASON SHUANG XU, knowingly and voluntarily waives the

protections of these rules as it relates to plea proceedings.    If the defendant,
JASON SHUANG XU, pleads guilty and later seeks to withdraw such guilty

plea (or seeks to directly appeal or collaterally attack such conviction), any

statement made at the plea proceedings in connection with such plea, and any

leads derived therefrom, shall be admissible for any and all purposes.

               f.   The defendant, JASON SHUANG XU, entirely waives his

right to collaterally attack his conviction and sentence on any ground and by

any method, including but not limited to a 28 U.S.C. S 2255 motion. The only

exceptions are that the defendant, JASON SHUANG XU, may collaterally

attack his conviction and sentence if: (1) the court enters a sentence above the

statutory maximum; (2) the court enters a sentence based on an
unconstitutional factor, such as race, religion, national origin, or gender; (3)

the claim is based on inefflective assistance of counsel; or (4) the claim is based

on prosecutorial misconduct not known to the defendant at the time of his

guilty plea.

               g.   It   is further agreed by and between the United States and

the defendant, JASON SHUANG XU, that in exchange for the Government's

agreement to dismiss the indictment          in case 1:20CR430-2, the defendant,
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JASON SHUANG XU, entirely waives his right to a direct appeal of his

conviction and sentence on any ground (including any argument that the

statute to which the defendant is pleading guilty is unconstitutional or that

the admitted conduct does not faII within the scope of the statute). The only

exceptions are that the defendant, JASON SHUANG XU, may fiIe a direct

appeal of his sentence   if   (1) the court enters a sentence above the statutory

maximum, (2) the court enters a sentence based on an unconstitutional factor,

such as race, religion, national origin, or gender; or (3) the government appeals

the sentence.

      7.    The defendant, JASON SHUANG XU, agrees that pursuant to

Title 18, United States Code, Section 3613, all monetary penalties, including

restitution imposed by the Court, shall be due immediately upon judgment and

subject to immediate enforcement by the United States. The defendant agrees

that if the Court imposes a schedule of payments, the schedule of payments

shall be merely a schedule of minimum payments and shall not be a limitation

on the methods available to the United States to enforce the judgment.

      8.    The defendant, JASON SHUANG XU, agrees that his                 debt

resulting from the criminal monetary penalties due under the criminal
judgment will be submitted to the Treasury Offset Program even           if he is
current in his payments under any Court imposed payment schedule.
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      9.    It is further understood that the United States and the defendant,
JASON SHUANG XU, reserve the right to bring to the Court's attention any

facts deemed relevant for purposes of sentencing.

      10.   The defendant, JASON SHUANG XU, further understands and

agrees that pursuant to   Title 18, United States Code, Section 3013, for any

offense committed on or after October 11, 1996, the defendant shall pay an

assessment to the Court of $100 for each offense to which he is pleading guilty.

This payment shall be made at the time of sentencing by cash or money order

made payable to the Clerk of the United States District Court. If the defendant

is indigent and cannot make the special assessment payment at the time of

sentencing, then the defendant agrees to participate   in the Inmate Financial

Responsibility Program for purposes of paying such special assessment

      11. No agreements,      representations,   or understandings have    been

made between the parties in this case other than those which are explicitly set




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    forth in this Plea Agreement, and none will be entered into unlees executpd in

    wniting and signed by all the parties.

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    MATTITEWG.T. MABTIN                          CIIBISTO        A. BEECITLER
    United States Attorney                       Attomey for Defendant




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